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                                 UNITED STATES DISTRICT COURT
                                 SOUTHERN DISTRICT OF FLORIDA
                                   FORT LAUDERDALE DIVISION
                                    Case No.: 9:22-cv-80607-AMC

 DELROY A. CHAMBERS, JR.,

            Plaintiff,

 v.

 BRAVO & CAMINO GROUP, LLC,

           Defendant.
                                             /

                   ANSWER AND AFFIRMATIVE DEFENSES TO COMPLAINT

           Defendant, Bravo & Camino Group, LLC, through its undersigned, counsel hereby files this

 Answer to Plaintiff's Complaint filed on 4/19/2022, in corresponding paragraphs to the allegations

 made in the Complaint as follows:

           1.      Denied.

           2.      Denied.

           3.    Admitted for jurisdictional purposes only. All remaining allegations of this paragraph

 are denied.

           4.    Admitted as to the nature of the action, but deny that Plaintiff is entitled to the relief

 sought.

           5.      Admitted for venue purposes only. All remaining allegations of this paragraph are

 denied.

           6.    Admitted that Mr. Chambers is a tester who at no time intended to rent or purchase a

 home. All remaining allegations of this paragraph are denied.

           7.    Admitted that Mr. Chambers is a tester who at no time intended to rent or purchase a

 home. All remaining allegations of this paragraph are denied.
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           8.    Admitted that Mr. Chambers is a tester who at no time intended to rent or purchase a

 home. All remaining allegations of this paragraph are denied.

           9.    Admitted.

           10.   Without knowledge as to what advertisement Mr. Chambers encountered, therefore

 denied.

           11.   Without knowledge as to what advertisement Mr. Chambers encountered, therefore

 denied

           12.   Without knowledge, therefore denied.

           13.   Denied.

           14.   Denied.

           15.   Denied.

           16.   Denied.

           17.   Denied.

           18.   Denied.

           19.   Denied

           20.   The HUD guidance speaks for itself. All remaining allegations of this paragraph are

 denied.

           21.   The HUD guidance speaks for itself. All remaining allegations of this paragraph are

 denied.

           22.   The HUD guidance speaks for itself. All remaining allegations of this paragraph are

 denied.

           23.   The HUD guidance speaks for itself. All remaining allegations of this paragraph are

 denied.

           24.   The HUD guidance speaks for itself. All remaining allegations of this paragraph are
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 denied.

           25.   Denied.

           26.   Denied.

           27.   Denied.

           28.   Denied.

           29.   Denied.

           30.   Denied.


                     COUNT 1 - VIOLATION OF THE FAIR HOUSING ACT

           31.   Defendant readopts and realleges its answers to paragraphs 1 through 30 as if

 specifically set forth herein.

           32.   Admit.

           33.   Denied.

           34.   Denied.

           35.   Denied.

           36.   Denied.

           37.   Denied.

           38.   Denied.

           39.   Denied.

           40.   Denied.

           41.   Denied.

 AFFIRMATIVE DEFENSE

           In further answering and responding to the allegations of Plaintiff's Complaint Defendant

 affirmatively alleges as follows:
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 FAILURE TO STATE A CLAIM UPON WHICH RELIEF CAN BE GRANTED

           Plaintiff is a professional litigant that has filed hundreds of similar actions in this Court

 against real estate companies. This complaint should be barred and/or dismissed based on its failure

 to state a valid cause of action under the Fair Housing Act (FHA). Defendant seeks recovery of

 reasonable attorney fees and costs in this action.

             1.     First, Plaintiff has not alleged a cognizable injury sufficient to meet the standing

     requirements as an aggrieved party under federal law. Although the United States Supreme Court1

     has granted testers like Plaintiff the ability to bring claims under the FHA, the Court still requires

     Plaintiff to allege an actual injury for those claims to have merit. Plaintiff alleges in this case that

     the policy of considering an applicant’s arrest history, which is not unlawful per se, is the cause of

     Plaintiff injury. But Plaintiff admits he was invited to submit a rental application for consideration

     but failed or refused to do so because of the alleged criminal history requirement. Plaintiff has

     failed to meet the most basic requirement of being an aggrieved party and therefore lacks standing

     to bring this action.

             2.     Second, Plaintiff makes conclusory statements about an alleged policy with a

     discriminatory purpose. Plaintiff’s complaint, which is similar to the hundreds of other complaints

     filed before this Court in volume, fails to state with any specificity the Defendant’s alleged policy

     or how that causes specific adverse racial or ethnic disparities in housing. The review of criminal

     history, per se, is not unlawful and may serve a valid interest. The complaint fails to state “enough

     facts to state a claim to relief that is plausible on its face.” See Bell Atl. Corp. v. Twombly, 550 U.S.

     544, 570 (2007). Therefore, the action should be dismissed and/or barred.

             3.     Third, The Complaint fails to allege statistically imbalanced patterns, artificially

     arbitrarily and unnecessarily applied, nor does it satisfy the robust causality requirement. Texas

     Department of Housing and Community Affairs v. Inclusive Communities Project, Inc.576 U.S. 519


 1
     Havens Realty Corporation v. Coleman, 455 U.S. 363 (1982).
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  (2015). Assuming that there is a statistically significant disparity between the rate at which different

  races are arrested, such disparity was not caused or even exacerbated by Defendant’s practices.

  Courts should avoid interpreting disparate-impact liability to be so expansive as to inject racial

  considerations into every housing decision.Id. Plaintiff has failed to allege any basis to inject race

  into Defendant’s actions.

                                    CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that a true and correct copy of the foregoing was served

 automatically via e-mail through the e-Filing Portal on this May 24, 2022 to Shawn A. Heller, Esq.,

 shawn@sjlawcollective.com; Joshua A. Glickman, Esq., josh@sjlawcollective.com; Social Justice

 Law Collective, PL 974 Howard Ave.; Dunedin, FL 34698, the Attorneys for the Plaintiff.


                                               By: /s/ Matthew Estevez
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